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       ECI SOFTWARE SOLUTIONS, INC.
11
12                              UNITED STATES DISTRICT COURT
13                             CENTRAL DISTRICT OF CALIFORNIA
14                                   WESTERN DIVISION
15
16     ECI SOFTWARE SOLUTIONS, INC.,            CASE NO. LA CV19-01966 JAK
       a Delaware corporation,                  (AGRx)
17
                  Plaintiff,
18                                              JOINT REPORT
       v.
19
       ERP SQL PRO INC., a California
20     corporation; and DOES 1-10,
21                Defendants.
22
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                                            1             Case No. LA CV19-01966 JAK (AGRx)
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 1     TO THE HONORABLE JOHN A. KRONSTADT:

 2            Plaintiff ECI Software Solutions, Inc., (“Plaintiff” or “ECI”) and Defendant ERP
 3     SQL Pro Inc. (“ERP SQL”), hereby file this Joint Status Report and Rule 26(f) Report
 4     under Federal Rule of Civil Procedure (“FRCP”) 26(f) and the Order Setting Rule 16(b)
 5     26(f) Scheduling Conference (“Order”) this Court issued on April 26, 2019. Pursuant to
 6     the Order, the parties met and conferred on June 17, 2019 through June 20, 2019,
 7     regarding the subjects identified in the Order. During these meet and confer efforts, the
 8     Parties agreed to submit this matter to a AAA arbitration currently pending in Texas . On
 9     June 25, 2019, the Parties filed a stipulated request to stay this Action pending
10     completion of the Texas arbitration. (See ECF No. 17.) Notwithstanding this stipulated
11     request, in order to comply with the Court’s Order instructing the parties to file a Rule
12     26(f) report no later than July 27, 2019, (see ECF No. 16), the Parties hereby report as
13     follows:
14            A.     STATEMENT OF THE CASE:
15                   1.   Plaintiff’s Statement:
16            ECI is a leading provider of business management and e-commerce systems
17     software, technology solutions, and other related services for a number of different
18     industries. ECI’s product portfolio includes licensing the use of its “M1 Software,” an
19     enterprise resource planning (“ERP”) tool designed for manufacturers that ECI licenses
20     to customers to help them manage a wide array of critical business operations and
21     activities.    ECI’s product portfolio also includes maintenance, customization,
22     implementation, training, and other services that ECI offers to its customers and licensees
23     on a renewable term basis (the “M1 Software Services”). ECI only authorizes employees
24     and licensed third-party contractors to perform M1 Software Services and the continued
25     development and confidentiality of M1 Software Services is important for ECI to obtain a
26     competitive advantage over ERP providers and generate income.            ECI generates a
27     significant portion of its income from the renewable-term M1 Software Services.
28     Defendants Sheridan and Roach were employees and/or independent contractors with
                                                   2            Case No. LA CV19-01966 JAK (AGRx)
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 1     ECI, and through those relationships (and only after they executed agreements that
 2     contained strong protections for ECI’s confidential, proprietary, and/or trade secret
 3     information, including ECI’s M1 Software) acquired access to ECI’s confidential,
 4     proprietary, and/or trade secret information. Sheridan formed Defendant ERP SQL Pro
 5     Inc. (“ERP SQL”), left ECI, and has been accessing and using the M1 Software while
 6     performing M1 Software Services for ECI customers without ECI’s license or
 7     authorization to access or use the M1 Software to provide such services. Sheridan has
 8     also offered to employ current and former ECI employees. Defendant Roach accepted
 9     Sheridan’s offer, left ECI, joined ERP SQL, and has been helping ERP SQL and/or
10     Sheridan do the things ECI’s complaint alleges, including accessing and using and/or
11     disclosing ECI’s confidential and proprietary information. The foregoing acts, and others
12     alleged in ECI’s complaint, are in violation of Sheridan and Roach’s agreements with
13     ECI and give rise to the following causes of action: (1) federal Defend Trade Secrets Act;
14     (2) tortious interference with contract; (3) tortious interference with prospective
15     economic relationship; (4) California’s Unfair Competition Law; (5) unjust
16     enrichment/restitution; and (6) conversion.
17                  2.    Defendant’s Statement:
18           ERP contends that ECI cannot prove one or more of the elements of its claims
19     and/or its claims are subject to dismissal either by a motion for judgment on the pleadings
20     or a motion for summary judgment. The thrust of ECI’s claims is that ERP interfered
21     with ERP’s relationship with ERP’s licensees by providing outside consulting services to
22     customize/optimize the licensed software. ECI encouraged its customers to work with
23     ERP to customize/optimize the software, and even referred business to ERP when it was
24     in its infancy. As such, ERP presently intends to move for summary judgment on its
25     affirmative defense of consent and waiver. Further, ERP actions in assisting licensees is
26     permitted by the defenses of fair competition, privilege and justification. As such, ERP
27     presently intends to move for summary judgment on one or more of those defenses.
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 1           B.     SUBJECT MATTER JURISDICTION:
 2           This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331
 3     because it arises under the Defend Trade Secrets Act, 18 U.S.C. § 1836, and has
 4     supplemental jurisdiction over state law claims under 28 U.S.C. §1367(a).
 5           Additionally, the Court has subject matter jurisdiction over this action under 28
 6     U.S.C. § 1332 because it is between citizens of different States and the amount in
 7     controversy exceeds the sum or value of $75,000, exclusive of interests and costs.
 8           C.     LEGAL ISSUES:
 9                  1.    Plaintiff’s Statement:
10                        a.     Defend Trade Secrets Act: Whether the conduct alleged in the
11     Complaint, specifically pertaining to Defendants’ alleged misappropriation, use and
12     continued use of ECI’s Trade Secrets (in particular, ECI’s M1 Software) to provide
13     allegedly unauthorized M1 Software Services for ECI’s customers and licenses is a
14     violation of the Defend Trade Secrets Act (18 U.S.C. § 1836, et seq.).
15                        b.     Tortious Interference With Contract:     Whether the conduct
16     alleged constitutes tortious interference with ECI’s agreements with its customers and
17     licensees—and specifically whether ECI had valid agreements with its customers toward
18     which Defendants committed intentional acts designed to induce a breach or disruption of
19     those contractual relationships.
20                        c.     Tortious Interference With Prospective Economic Relationship:
21     Whether the conduct alleged constitutes tortious interference with ECI’s prospective
22     economic relationships—and specifically whether ECI identified a viable future
23     economic relationship and independently tortious conduct.
24                        d.     Unjust Enrichment/Restitution:    Whether ECI is entitled to
25     damages in the form of unjust enrichment/restitution under the Defend Trade Secrets Act.
26                        e.     California’s Unfair Competition Law:           Whether ECI has
27     standing to bring a California UCL claim in this Court and can establish an unlawful,
28     unfair, or fraudulent business act or practice, even though ECI contends that Texas choice
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 1     of law provisions support its selection of the Northern District of Texas as the proper
 2     forum.
 3                         f.    Conversion:        Whether Defendants have converted property
 4     belonging to ECI.
 5                  2.     Defendant’s Statement:
 6           On or about March 11, 2019, ECI initiated an arbitration with the American
 7     Arbitration Association in Texas against ERP asserting the same claims alleged in t his
 8     case (AAA Case Number 01-19-0000-7890). On March 26, 2019, ERP answered the
 9     demand for arbitration. As such, this case (filed March 15, 2019) should be stayed or
10     dismissed because an identical action is pending in another forum against ERP.
11           D.     PARTIES AND NON-PARTY WITNESSES:
12                  1.     Plaintiff’s Statement:
13                         a.    ECI Software Solutions, Inc.
14                         b.    Adam Forde
15                         c.    Darrin Smith
16                         d.    ERP SQL Pro, Inc.
17                         e.    Erik Forkrud
18                         f.    Richard Sheridan
19                         g.    Timothy Roach
20                  2.     Defendant’s Statement:
21           ERP’s party witnesses include Rick Sheridan and Timothy Roach. Non-party
22     witnesses include employees of ECI and third-party licensees of the M1 software to be
23     more specifically identified after written discovery.
24           E.     DAMAGES:
25           ECI seeks over $1 million in damages, including but not limited to restitution and
26     disgorgement of all money, profits, compensation, or property that ERP SQL Pro, Inc.
27     acquired or will acquire by wrongful or unlawful means; exemplary and punitive
28     damages; attorneys’ fees and costs; and pre-judgment and post-judgment interest.
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 1           F.     INSURANCE:
 2           There is no insurance to cover Plaintiff’s claims.
 3           G.     MOTIONS:
 4                  1.     Plaintiff’s Statement:
 5           The Parties have agreed to submit this matter to arbitration and requested a stay of
 6     this Action until the completion of the Texas arbitration. Therefore, Plaintiff does not
 7     anticipate that extensive motion practice will occur before this Court.
 8                  2.     Defendant’s Statement:
 9           ERP intends to file a motion to stay the proceedings in this Court pending the
10     Texas arbitration if the Court does not stay the action based on the Parties’ stipulation.
11           H.     MANUAL FOR COMPLEX LITIGATION:
12                  Not applicable.
13           I.     STATUS OF DISCOVERY:
14                  1.     Plaintiff’s Statement:
15           The Parties have agreed to submit this matter to arbitration, and Plaintiff does not
16     anticipate propounding any discovery in the Action at this time.
17                  2.     Defendant’s Statement:
18           Defendant has not initiated discovery pending the Court’s decision on the Parties’
19     stipulation for stay.
20           J.     DISCOVERY PLAN:
21                  1.     Plaintiff’s Statement:
22           The Parties have agreed to submit this matter to arbitration, and Plaintiff does not
23     anticipate propounding any discovery in the Action at this time.
24                  2.     Defendant’s Statement:
25           If this matter is not stayed, ERP intends to conduct discovery on the elements of
26     the claims that ECI has alleged as well as the damages that ECI claims to have suffered.
27     ERP will be serving requests for production of documents to ECI that seeks, among other
28     things, information about third-party witnesses who are licensees of M1 software (which
                                                    6             Case No. LA CV19-01966 JAK (AGRx)
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 1     ECI describes as its “customers”), documents proving any damages ECI claims to have
 2     suffered, documents reflecting income generated from the M1 software, communications
 3     with ERP and its representatives, documents supporting ECI’s claims, and documents
 4     about other third-party contractors who have acted in a similar capacity to ERP. In
 5     addition, ERP will be serving interrogatories to ECI seeking, among other things, the
 6     names of its customers referenced in the Complaint, the names of third -party contractors
 7     who have serviced M1 software licensed by ECI, the facts supporting the allegations in
 8     the Complaint.
 9           ERP anticipates that discovery will require the depositions of 5-10 representatives
10     of ECI and 5-10 non-party witnesses who are licensees of the M1 software. Written
11     discovery, in particular document requests, will inform which of the ECI represe ntatives
12     and third-party licensee witnesses will most likely have relevant information to support
13     ERP’s defenses.
14           While many depositions will likely be short, the deponents reside in many different
15     states, including:   Texas, California, Illinois, Wisconsin, Florida, Arizona, Australia,
16     Michigan, Minnesota, Missouri. Because there are a number of party and third-party
17     witnesses, ERP requests that the limitation of 10 depositions per side (FRCP
18     30(a)(2)(A)(i)) be increased to 20 depositions per side with the additional 10 depositions
19     being limited to no more than 3 hours each. In addition, ERP requests that the Court
20     order that all of the depositions of witnesses may be taken by telephone or other remote
21     means per FRCP 30(b)(4) if any party so desires.             ERP does not request any
22     modifications to the limitations on written discovery at this time. ERP will seek entry of a
23     stipulated protective order with an attorney’s eyes only provision for information related
24     to ERP’s customers.
25           ERP anticipates completing written discovery and depositions in accordance with
26     the proposed deadlines attached hereto.
27     ///
28     ///
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 1           K.    DISCOVERY CUT-OFF:
 2                 1.     Plaintiff’s Proposal:
 3           The Parties have agreed to submit this matter to arbitration, and Plaintiff does not
 4     anticipate propounding any discovery in the Action at this time.
 5                 2.     Defendant’s Statement:
 6           See Exhibit A.
 7           L.    EXPERT DISCOVERY:
 8                 1.     Plaintiff’s Statement:
 9           The Parties have agreed to submit this matter to arbitration, and Plaintiff does not
10     anticipate propounding any discovery in the Action at this time.
11                 2.     Defendant’s Statement:
12           See Exhibit A.
13           M.    DISPOSITIVE MOTIONS:
14                 1.     Plaintiff’s Statement:
15           The Parties have agreed to submit this matter to arbitration, and Plaintiff does not
16     anticipate that extensive motion practice will occur before this Court. However, after
17     completion of the Texas arbitration, Plaintiff anticipates that the Parties will bring a
18     motion to enter judgment on the arbitrator’s decision.
19                 2.     Defendant’s Statement:
20           If the case is not stayed, ERP intends to file a motion for judgment of the pleadings
21     and/or motion for summary judgment relating to ECI’s claims for unjust enrichment,
22     violation of Cal. Bus. & Prof. Code §17200, conversion. In addition, ERP intends to file
23     a summary judgment motion on the affirmative defenses of consent, waiver, privilege,
24     fair competition and justification. Discovery may reveal additional grounds to file a
25     summary judgment motion as to ECI’s other claims.
26     ///
27     ///
28     ///
                                                   8            Case No. LA CV19-01966 JAK (AGRx)
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 1           N.       SETTLEMENT:
 2           The parties engaged in settlement discussions in May 2017 and the beginning of
 3     2018, but the parties were unable to reach an agreement. There are no current, pending
 4     settlement discussions at this time.
 5           O.       TRIAL ESTIMATE:
 6                    1.    Plaintiff’s Statement:
 7           The Parties have agreed to submit this matter to arbitration, and, at this time,
 8     Plaintiff does not anticipate that a trial before this Court will occur.
 9                    2.    Defendant’s Statement:
10           ERP estimates that a jury trial of the claims and defenses will take 5 court days.
11           P.       TRIAL COUNSEL:
12                    1.    Plaintiff’s Statement:
13           The Parties have agreed to submit this matter to arbitration, and, at this time,
14     Plaintiff does not anticipate that a trial before this Court will occur.
15                    2.    Defendant’s Statement:
16           Co-lead counsel for ERP: Jason D. Annigian and James T. Ryan
17           Q.       INDEPENDENT EXPERT OR MASTER:
18                    Not applicable
19           R.       TIMETABLE:
20           The Parties have requested that the Court set a status conference in late February
21     2020 to report on the status of the Texas Arbitration.
22           S.       OTHER ISSUES:
23                    1.    Plaintiff’s Statement:
24           None at this time.
25                    2.    Defendant’s Statement:
26           If the Court does not stay the action based on the stipulation of the Parties, ERP
27     intends to file a motion to stay the proceedings in this Court pending the Texas
28     arbitration.
                                                     9             Case No. LA CV19-01966 JAK (AGRx)
                                              JOINT REPORT
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 1        T.    PATENT CASES:
 2        Not applicable
 3        U.    WHETHER THE PARTIES WISH TO HAVE A MAGISTRATE
 4              JUDGE PRESIDE:
 5        The parties do not consent to Magistrate Judge presiding over the entire action.
 6
                                            GREENBERG TRAURIG, LLP
 7
 8
     Date: June 27, 2019                  By: /s/ Kurt A. Kappes      ___________
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                                            Michael D. Lane
10                                          GREENBERG TRAURIG, LLP
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16
                                             Attorneys for Plaintiff
17                                           ECI Software Solutions, Inc.
18
19   Dated: June 27, 2019                   THE ANNIGIAN FIRM, APC
20
21                                       By: /s/ Jason Annigian       ___________
                                            Jason D. Annigian
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                                            10              Case No. LA CV19-01966 JAK (AGRx)
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 1                         ATTESTATION OF E-FILED SIGNATURE
 2             I, Kurt A. Kappes, am the ECF user whose ID and password are being used to
 3   file this Joint Report. In compliance with Local Rule L.R. 5-4.3.4 (a)(2)(i), I hereby
 4   attest that Jason D. Annigian, counsel for ERP SQL Pro Inc. has concurred in this
 5   filing.
 6
 7   Date: June 27, 2019                      By: /s/Kurt A. Kappes
                                                    Kurt A. Kappes
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                                             11             Case No. LA CV19-01966 JAK (AGRx)
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        EXHIBIT A – SCHEDULE OF PRETRIAL AND TRIAL DATES FOR CIVIL
 1                                CASES
 2   Case No.             LA CV19-01966 JAK (AGRx)

 3   Case Name:           ECI Software Solutions, Inc. v. ERP SQL PRO Inc.

 4
     Deadlines:                           Plaintiff’s Request   Defendant’s        Court Order
 5                                                              Request
     Last Date to Add Parties/Amend July 19, 2019               July 19, 2019
 6   Pleadings
     Non-Expert Discovery Cut-Off   November 8, 2019            Dec. 13, 2019
 7
     Expert Disclosure (Initial)          November 22, 2019     Dec. 23, 2019
 8
     Expert Disclosure (Rebuttal)         December 6, 2019      January 10, 2020
 9
     Expert Discovery Cut-Off             December 20, 2019     January 31, 2020
10
     Last Date to File All Motions        February 7, 2020      February 7, 2020
11
     Settlement Procedure Section         Plaintiff’s Request   Defendant’s        Court Order
12                                                              Request

13   1. Magistrate Judge               1 or 3                   1 or 3
     2. Attorney Settlement Officer
14   3. Outside ADR/Non-Judicial
     Last day to conduct settlement or April 10, 2020           April 10, 2020
15   mediation
     Notice of settlement/Joint report re: April 17, 2020       April 17, 2020
16   settlement
17   Post Mediation Status Conference     April 27, 2020        April 27, 2020

18   Pretrial and Jury Trial Dates        Plaintiff’s Request   Defendant’s        Court Order
                                                                Request
19
     Last day to file all pretrial May 1, 2020                  May 1, 2020
20   documents and motions in limine
     Last day to file response to motions May 8, 2020           May 8, 2020
21   in limine
22   Final Pretrial Conference            May 15, 2020          May 15, 2020
23
     Jury Trial                           June 2, 2020          June 2, 2020
24   Est. 7-10 days

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                                                   12               Case No. LA CV19-01966 JAK (AGRx)
                                               JOINT REPORT
